       Case 1:21-cv-03878-JHR-SLC Document 52 Filed 03/06/23 Page 1 of 2




UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

DAWNN KAREN MAHULAWDE,

                                 Plaintiff,                        Case: 1:21-cv-3878

                  -against-
                                                                APPLICATION FOR
FASHION INSTITUTE OF TECHNOLOGY,                                 WITHDRAWAL OF
JOSEPH MAIORCA, Individually; ROBERTA                           APPEARANCE AND
PALEY, Individually; ROBERTA DEGNORE,                         REQUEST FOR REMOVAL
Individually,                                                  FROM SERVICE LISTS

                                 Defendants.



               To: The Clerk of Court and All Parties of Record.

               PLEASE TAKE NOTICE, that as of March 7, 2023, at close of business,

MARIELLE A. MOORE will no longer be associated with Wilson, Elser, Moskowitz, Edelman

& Dicker LLP and hereby respectfully requests withdrawal of her appearance as counsel for

Defendants FASHION INSTITUTE OF TECHNOLOGY; JOSEPH MAIORCA, Individually;

ROBERTA PALEY, Individually; and ROBERTA DEGNORE, Individually, in the referenced

action, and further respectfully requests that she be removed from the CM/ECF noticing list and

any other service list in this case. Ms. Moore is not asserting any liens in connection with this

matter. Ms. Moore’s withdrawal will not impact any deadlines or this matter’s position on the

Court’s calendar, as NANCY V. WRIGHT will continue to serve as counsel for Defendants

FASHION INSTITUTE OF TECHNOLOGY; JOSEPH MAIORCA, Individually; ROBERTA

PALEY, Individually; and ROBERTA DEGNORE, Individually, and respectfully requests that

all future correspondence and papers in this action continue to be directed to her.

Dated: New York, New York
       March 6, 2023


280550858v.1
       Case 1:21-cv-03878-JHR-SLC Document 52 Filed 03/06/23 Page 2 of 2




                                                 Respectfully submitted,



                                             WILSON, ELSER, MOSKOWITZ,
                                             EDELMAN & DICKER LLP




                                       By:   __________________________________
                                             Marielle A. Moore
                                             Nancy V. Wright
                                             Attorneys for Defendants
                                             FASHION INSTITUTE OF TECHNOLOGY,
                                             JOSEPH MAIORCA, ROBERT PALEY, and
                                             ROBERTA DEGNORE
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                                             Our File: 22643.00009

TO:     VIA ECF
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                                             2

280550858v.1
